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                     EXHIBIT 36
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                                                                                          ·


·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE SOUTHERN DISTRICT OF TEXAS
·2· · · · · · · · · · · ·HOUSTON DIVISION

·3· ·FOOD NOT BOMBS HOUSTON· · §
· · ·ET AL.,· · · · · · · · · ·§
·4· · · · · · · · · · · · · · ·§
· · ·Plaintiffs,· · · · · · · ·§· Case No. 4:24-cv-338
·5· · · · · · · · · · · · · · ·§
· · ·v.· · · · · · · · · · · · §· (Consolidated Case: No.
·6· · · · · · · · · · · · · · ·§· 4:23-cv-1206)
· · ·CITY OF HOUSTON, TEXAS,· ·§
·7· · · · · · · · · · · · · · ·§
· · ·Defendant.· · · · · · · · §
·8

·9

10· · · · · · · · · · · ORAL DEPOSITION OF

11· · · · · · · · · · · · ·RENEE BECKHAM

12· · · · · · · · · · · ·FEBRUARY 13, 2025

13

14

15· · · · ORAL DEPOSITION OF RENEE BECKHAM, produced as a

16· ·witness at the instance of the Plaintiffs and duly

17· ·sworn, was taken in the above styled and numbered cause

18· ·on Thursday, February 13, 2025, from 9:10 a.m. to

19· ·2:49 p.m., before DONNA QUALLS, Notary Public in and for

20· ·the State of Texas, Notary ID No. 12161359, reported by

21· ·computerized stenotype machine, at the offices of

22· ·Houston City Hall Annex, 900 Bagby Street, 4th Floor,

23· ·Houston, Texas, pursuant to the Federal Rules of Civil

24· ·Procedure, and any provisions stated on the record or

25· ·attached hereto.


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·1· · · · · · · · · · ·A P P E A R A N C E S

·2
· · ·FOR THE PLAINTIFF, FOOD NOT BOMBS AND BRANDON WALSH:
·3· · · · RANDALL HIROSHIGE
· · · · · CHRISTINA BEELER
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·5· · · · Austin, Texas· 78741
· · · · · (512) 474-5073
·6· · · · randy@texascivilrightsproject.org
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·7

·8· ·FOR THE PLAINTIFF, PHILLIP PICONE:
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12
· · ·FOR THE DEFENDANT, CITY OF HOUSTON:
13· · · · LUCILLE ANDERSON
· · · · · KENNETH S. SOH
14· · · · CITY OF HOUSTON LEGAL DEPARTMENT
· · · · · P.O. Box 368
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· · · · · (832) 393-6491
16· · · · mlucille.anderson@houstontx.gov
· · · · · kenneth.soh@houstontx.gov
17

18
· · ·Also Present:
19· · · · Natoya Inglis
· · · · · Anamaria Kheveli
20· · · · Rihika Kumar

21

22

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·1· · · · A.· Yes.
·2· · · · Q.· And underneath that it says "Agreeing to
·3· ·implement improvements to their food preparation,
·4· ·transportation, and service process as suggested by the
·5· ·health department."
·6· · · · A.· Yes.
·7· · · · Q.· And at the very end of this section, there is
·8· ·one sentence that -- at the end it says "An individual
·9· ·or organization providing charitable food services with
10· ·the consent of the property owner but without
11· ·participating in the program established by the article
12· ·shall not be deemed in violation of this article."
13· · · · · · · · ·Do you see that?
14· · · · A.· Yes.
15· · · · Q.· And that just confirms what we've been saying,
16· ·that this voluntary recognized food service provider
17· ·program is not a mandatory step for charitable feeding
18· ·on public property?
19· · · · A.· Right.· Not mandatory.
20· · · · Q.· Now, can you turn with me to the next
21· ·Section 20-255, health department authorized.
22· · · · · · · · ·Do you see that?
23· · · · A.· Yes.
24· · · · Q.· And it says "The health department is
25· ·authorized to" -- Section 1 says "Issue guidelines for

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·1· ·food preparation, food transportation, food storage, and
·2· ·other food safety, sanitation, and public health-related
·3· ·issues associated with conducting food service events."
·4· · · · · · · · ·Did I read that correctly?
·5· · · · A.· Yes.
·6· · · · Q.· And what process or procedures does the health
·7· ·department use to issue guidelines under this section?
·8· · · · A.· That is done by our training, that food handler
·9· ·training that they receive -- I'm sorry -- that
10· ·individuals or organizations receive if they wish to
11· ·feed the homeless.
12· · · · Q.· Okay.· So the guidelines the health department
13· ·comes up with are shared during the two-hour food
14· ·handling training for charitable feedings?
15· · · · A.· Yes.
16· · · · Q.· Okay.· But that training is again a voluntary
17· ·step for individuals or groups who want to --
18· · · · A.· Yes.
19· · · · Q.· -- engage in charitable feedings; is that
20· ·right?
21· · · · A.· Yes.
22· · · · Q.· Okay.· So the guidelines issued by the health
23· ·department under this section, are -- are they suggested
24· ·best practices?
25· · · · A.· They are the suggested best practices which

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·1· ·include food safety.· That is the priority item.
·2· · · · Q.· Okay.· But the guidelines issued by the health
·3· ·department under this section, they're not mandatory for
·4· ·charitable feeding on public property?
·5· · · · · · · · ·MS. ANDERSON:· Objection; form.
·6· · · · · · · · ·You can answer.
·7· · · · · · · · ·MR. HIROSHIGE:· You can answer.
·8· · · · · · · · ·THE WITNESS:· Okay.
·9· · · · A.· The guidelines remains -- and if you like at
10· ·this, the guidelines for food preparation -- it doesn't
11· ·matter whether -- what the intent is.· The guideline is
12· ·for food safety straight up.· So without those
13· ·guidelines there could be issues.
14· · · · Q.· (BY MR. HIROSHIGE)· But the guidelines are --
15· ·they're just shared with the individuals or groups who
16· ·take the food handling course provided by the health
17· ·department, right?
18· · · · A.· Yes.
19· · · · Q.· Okay.· And under -- do you see
20· ·Section 3 under -- sorry -- Item No. 3 under
21· ·Section 20-255?
22· · · · A.· Yes.
23· · · · Q.· It says "Identify on an annual basis, beginning
24· ·one year from the effective date of Ordinance
25· ·No. 2012-269, those recognized charitable food service

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·1· ·providers which have abided by their pledge to provide
·2· ·charitable food services in conformance with
·3· ·Section 20-254 of this code."
·4· · · · · · · · ·Did I read that correctly?
·5· · · · A.· Yes.
·6· · · · Q.· So the ordinance authorizes the health
·7· ·department to inspect whether the recognized charitable
·8· ·food service providers are complying with their pledge
·9· ·under Section 20-254?
10· · · · A.· Yes.
11· · · · Q.· Now, can you turn with me to the next page of
12· ·the ordinance?· Do you see Section 20-256,
13· ·identification and recognition?
14· · · · A.· Yes.
15· · · · Q.· And it says "The City shall maintain on the
16· ·city website a list identifying by name and address (and
17· ·if requested by the provider, other direct contact
18· ·information), those recognized charitable food service
19· ·providers which are in good standing under the program."
20· · · · · · · · ·Did I read that correctly?
21· · · · A.· Yes.
22· · · · Q.· And what is the purpose of publishing this list
23· ·of recognized charitable food service providers on the
24· ·city website?
25· · · · A.· I wasn't engaged a part of why this was put in.

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·1· ·This was added.· I understand that, when communicating
·2· ·with organizations, I think the web page was a way for
·3· ·organizations to really communicate with each other.
·4· ·That's how I taught -- when we taught class in person, I
·5· ·encouraged all of the folks in the room to, hey, if
·6· ·you're in the southwest side, y'all can split up the
·7· ·activities.· If you're in the southeast side, y'all
·8· ·can -- so that you don't have everybody running
·9· ·downtown.
10· · · · Q.· And so the idea -- or at least it's your
11· ·understanding of the idea behind maintaining a list of
12· ·the charitable food service providers that are
13· ·recognized is so they can identify each other and see
14· ·where they're sharing food?
15· · · · A.· That's my interpretation.
16· · · · Q.· Okay.· And then they can coordinate with each
17· ·other?
18· · · · A.· Right.
19· · · · Q.· And so, for instance, there might not be any
20· ·people providing feed on the southwest side, and by
21· ·having a list of the providers, someone could recognize
22· ·that and decide to provide food there?
23· · · · A.· Yes.
24· · · · Q.· So the health department wants to ensure that
25· ·charitable feeding is distributed throughout the city

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·1· ·based on need, right?
·2· · · · A.· Yes.
·3· · · · Q.· Okay.· Now, can you turn with me to the last
·4· ·section, Section 20-257, use of city parks and other
·5· ·city property for food service events?
·6· · · · · · · · ·Do you see that?
·7· · · · A.· Yes.
·8· · · · Q.· Okay.· "And it says "The director of the parks
·9· ·department shall develop rules, regulations, and
10· ·criteria for the use of park properties for food service
11· ·events and shall maintain a list of park properties with
12· ·areas approved for food service events.· The director of
13· ·public health shall develop rules, regulations, and
14· ·criteria for the use of other city property for food
15· ·service events and shall maintain a list of such
16· ·properties with areas approved for food service events."
17· · · · · · · · ·Did I read that correctly?
18· · · · A.· Yes.
19· · · · Q.· Now that we've had an opportunity to review the
20· ·ordinance, the ordinance itself doesn't contain any
21· ·criteria for selecting city properties for food service
22· ·events, right?
23· · · · A.· No, I don't -- no.
24· · · · Q.· That's correct, right?· It doesn't contain
25· ·any -- sorry.· Let me reask the question.

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·1· · · · A.· Okay.
·2· · · · Q.· The ordinance itself does not contain any
·3· ·criteria for selecting city properties for food services
·4· ·events, right?
·5· · · · A.· Right.
·6· · · · Q.· And it delegates the authority to make that
·7· ·criteria for selecting properties to the parks and
·8· ·health department?
·9· · · · · · · · ·MS. ANDERSON:· Objection; form.
10· · · · Q.· (BY MR. HIROSHIGE)· Is that --
11· · · · · · · · ·MS. ANDERSON:· You can answer if you know.
12· · · · · · · · ·THE WITNESS:· Oh, okay.
13· · · · A.· It directs -- the 20-57 [sic] directs the
14· ·director of the health department and director of parks
15· ·and recreation to determine those locations, those
16· ·sites.
17· · · · Q.· (BY MR. HIROSHIGE)· Okay.· And the ordinance
18· ·itself does not lay out a process for getting a city
19· ·property approved for charitable feeding, right?
20· · · · A.· No.· There's nothing there.
21· · · · Q.· Sorry.· I -- the ordinance does not lay out a
22· ·process for getting a city property approved for
23· ·charitable feeding; is that right?
24· · · · A.· That's correct.
25· · · · Q.· Okay.· Sorry.· So the -- as you mentioned, the

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·1· ·ordinance charged the parks department with developing
·2· ·rules and criteria for the use of park properties for
·3· ·food service events?
·4· · · · A.· Yes.
·5· · · · Q.· And by parks department, we're talking about
·6· ·the parks and recreation department of the City of
·7· ·Houston, right?
·8· · · · A.· Yes.
·9· · · · Q.· And likewise, the ordinance charged the health
10· ·department for developing rules and criteria for the use
11· ·of other city properties for food service events?
12· · · · A.· Yes.
13· · · · Q.· And again, the health department is the health
14· ·department of the City of Houston, right?
15· · · · A.· Yes.
16· · · · Q.· And Section 20-257 of the ordinance doesn't
17· ·specify any standards for how the parks department is
18· ·supposed to develop its criteria for the use of park
19· ·properties for food service events; is that right?
20· · · · · · · · ·MS. ANDERSON:· Objection; form.
21· · · · · · · · ·MR. HIROSHIGE:· You can answer.
22· · · · A.· No, it does not.
23· · · · Q.· (BY MR. HIROSHIGE)· Okay.· So it -- the
24· ·ordinance gives the parks department discretion to
25· ·develop rules, regulation, and criteria for the use of

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·1· · · · A.· Yes.
·2· · · · Q.· And if you turn with me to the -- to the last
·3· ·page where it says in the bottom right corner City of
·4· ·Houston 000016.
·5· · · · A.· 16.· Okay.
·6· · · · Q.· Do you see that?
·7· · · · A.· Uh-huh.
·8· · · · Q.· In the very end it says page last reviewed
·9· ·March 30, 2023.
10· · · · A.· Yes, sir.
11· · · · Q.· So this is a copy of the Houston Health
12· ·Department's charitable feeding web page sometime after
13· ·March 30th, 2023?
14· · · · A.· Right.
15· · · · Q.· Okay.· And can you turn with me back to the
16· ·first page?
17· · · · · · · · ·And underneath the charitable -- underneath
18· ·charitable feeding it says "The recognized charitable
19· ·food service provider program is a voluntary program
20· ·whose goal is to provide coordination of operations to
21· ·organizations that serve homeless individuals?"
22· · · · · · · · ·Did I read that correctly?
23· · · · A.· Yes.
24· · · · Q.· Again, this is referring to the voluntary
25· ·recognized charitable food service provider program

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·1· ·under Section 20-253?
·2· · · · A.· Okay.
·3· · · · Q.· And underneath that it says "The program
·4· ·consists of four basic steps."
·5· · · · · · · · ·Do you see that?
·6· · · · A.· Uh-huh.
·7· · · · Q.· And can you just take a moment to review these
·8· ·four steps?
·9· · · · A.· (Witness complies.)
10· · · · · · · · ·Okay.
11· · · · Q.· And so these are the four steps to participate
12· ·in the voluntary charitable food service provider
13· ·program, right?
14· · · · A.· I'm sorry.· Can you please repeat?
15· · · · Q.· These are the four steps to participate in the
16· ·voluntary charitable food service provider program; is
17· ·that right?
18· · · · A.· Yes, uh-huh.
19· · · · Q.· Okay.· And for nonregistered individuals or
20· ·groups, the only mandatory step under the ordinance is
21· ·Step 3, get property owner consent?
22· · · · A.· Yes.
23· · · · Q.· So unregistered groups do not have to follow
24· ·Steps 1, 2, and 4?
25· · · · · · · · ·MS. ANDERSON:· Objection; form.

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·1· · · · Q.· (BY MR. HIROSHIGE)· Is that right?
·2· · · · A.· That's correct.
·3· · · · Q.· We can set that exhibit aside for now.· We're
·4· ·going to come back to it later; so just put it somewhere
·5· ·handy.
·6· · · · · · · · ·As we discussed earlier in reviewing the
·7· ·ordinance, it went into effect in July of 2012, right?
·8· · · · A.· Yes.
·9· · · · Q.· And in 2012, did the parks department develop
10· ·criteria for the selection of park properties as sites
11· ·for charitable food service events?
12· · · · A.· I don't know how they did that.
13· · · · Q.· Okay.· So you don't know if they developed that
14· ·criteria?
15· · · · A.· I don't know how they did that.
16· · · · Q.· Okay.
17· · · · A.· How they developed the criteria.
18· · · · Q.· Have you ever seen any written guidance from
19· ·the parks department that shows the criteria for the
20· ·selection of city properties?
21· · · · A.· No.
22· · · · Q.· Now, in 2012, did the parks department select
23· ·certain city parks to serve as approved charitable
24· ·feeding sites?
25· · · · A.· There was a list of parks.

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·1· · · · Q.· Do you remember what any of those parks were?
·2· · · · A.· Hennessey, Peggy's Point, Tranquility -- those
·3· ·are the main three that I remember.· Tranquility -- it
·4· ·might have been eight altogether.
·5· · · · Q.· But you don't know how the parks department
·6· ·selected those --
·7· · · · A.· No, sir.
·8· · · · Q.· -- parks?
·9· · · · · · · · ·Okay.· Now, in 2012 after the ordinance
10· ·went into effect, did the health department develop
11· ·rules or criteria for the selection of other city
12· ·properties as sites for charitable food service events?
13· · · · A.· Now, the city -- not that I'm aware of that the
14· ·City said you can use Block 1 versus Block 2, if that's
15· ·your question.
16· · · · Q.· My question is a step back from the sites
17· ·themselves.· Do you remember how under Section 20-257 it
18· ·directed the health department to develop rules,
19· ·regulation, criteria for use of other city properties
20· ·for use of food service events?
21· · · · · · · · ·Do you remember that?
22· · · · A.· Right, I remember that.
23· · · · Q.· Okay.· And did the health department develop
24· ·rules, criteria, or regulations for the selection of
25· ·other city properties as sites for charitable food

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·1· ·service events in 2012?
·2· · · · A.· Well, that's pretty much covered in the
·3· ·ordinance.· When you're asking me if the health
·4· ·department developed what properties, then I can't
·5· ·answer that question.· The health department goes by the
·6· ·ordinance and says, hey, parks or city property.
·7· ·Maybe -- is that what you're asking me?
·8· · · · Q.· I guess how did -- did the health department
·9· ·select any other city properties as approved charitable
10· ·feeding sites in 2012?
11· · · · A.· Not that I'm aware of.
12· · · · Q.· And do you know how they would have decided to
13· ·approve or disapprove of other city properties for food
14· ·service events in 2012?
15· · · · A.· No, sir.
16· · · · Q.· Okay.· Now, in 2012, did the parks department
17· ·maintain a list of parks that were available for food
18· ·service events?
19· · · · A.· I don't know what the parks department
20· ·maintained.· I know what we maintained.
21· · · · Q.· Okay.· So in 2012, did the health department
22· ·maintain a list of city properties that were available
23· ·for food service events?
24· · · · A.· They maintained a list of city parks.· I'm
25· ·going to go with the word "parks" because, when you say

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·1· ·not parks.· Do you understand?
·2· · · · A.· Yes.
·3· · · · Q.· And that could include city-owned parking lots,
·4· ·right?
·5· · · · A.· Yes.
·6· · · · Q.· It could include city-owned sidewalks; is that
·7· ·right?
·8· · · · A.· Yes.
·9· · · · Q.· Let's see -- can you think of other city-owned
10· ·properties that are not parks?
11· · · · A.· Yeah.· There was -- oh, God, what was this
12· ·place at?· There was a city property somewhere off of
13· ·St. Emanuel because I -- the reason I remember it is
14· ·because our AD had to go and unlock the gate on
15· ·weekends.· There's a key that -- I remember he had to go
16· ·open that property up for people to feed the homeless
17· ·there.
18· · · · Q.· What kind of property was that?
19· · · · A.· I think it was a parking lot but -- not sure.
20· ·I've not been there.
21· · · · Q.· Okay.· And so back to my question, in 2012
22· ·after this ordinance went into effect, did the health
23· ·department develop rules, regulations, and criteria for
24· ·the use of other city properties for food service
25· ·events?

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·1· · · · A.· Yes.
·2· · · · Q.· And what were those criteria?
·3· · · · A.· It would be the same criteria that's listed in
·4· ·the entire ordinance.
·5· · · · Q.· Okay.· So the health department didn't come up
·6· ·with any criteria that's not listed in this ordinance?
·7· · · · A.· Not that I'm aware of.
·8· · · · Q.· Okay.· Do -- have you ever seen any written
·9· ·guidance developed by the health department containing
10· ·its rules and criteria for the selection of other city
11· ·properties for food service events?
12· · · · A.· No, sir.
13· · · · Q.· And I'm going to ask you to turn to an exhibit
14· ·that's been previously marked as Exhibit 26 during the
15· ·30(b)(6) deposition of Captain Kennedy.
16· · · · · · · · ·MS. ANDERSON:· Which exhibit is this?
17· · · · · · · · ·MR. HIROSHIGE:· 26.
18· · · · · · · · ·MS. ANDERSON:· 26.
19· · · · · · · · ·THE WITNESS:· Okay.
20· · · · Q.· (BY MR. HIROSHIGE)· And are you looking at the
21· ·page where it says CitizensNet?
22· · · · A.· Yes.
23· · · · Q.· Okay.· And CitizensNet is a newsletter that's
24· ·put out by the City of Houston, right?
25· · · · A.· Yes.

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·1· · · · Q.· Are you familiar with CitizensNet?
·2· · · · A.· I've seen it.
·3· · · · Q.· And the picture there is Annise Parker.· Do you
·4· ·see that?
·5· · · · A.· Yes.
·6· · · · Q.· And she used to be the mayor of the City of
·7· ·Houston?
·8· · · · A.· Yes.
·9· · · · Q.· And have -- I'll give you a moment to just
10· ·review this.· And once you had a moment to review it, my
11· ·question for you is have you seen this document before?
12· · · · A.· Yes.
13· · · · Q.· Okay.· You have seen this document before.
14· ·When did you see this document before?
15· · · · A.· I guess sometime in 2012.
16· · · · Q.· Okay.· And it does -- you see listed there it
17· ·says September 5th, 2012, at the top?
18· · · · A.· Yes.
19· · · · Q.· And that's when this newsletter was published,
20· ·right?
21· · · · A.· Yes.
22· · · · Q.· Okay.· And do you see in the top left of this
23· ·document where it says 1-17-24 in the very top left?
24· · · · · · · · ·MS. ANDERSON:· The tiny print?
25· · · · · · · · ·MR. HIROSHIGE:· In the tiny print, yes.

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·1· ·down from the city's website for any reason?
·2· · · · A.· No, I do not.
·3· · · · Q.· Okay.· Now, can you -- underneath in the
·4· ·section that says "Introduction" a few lines down from
·5· ·that, there's a section that says "The program consists
·6· ·of four basic steps."
·7· · · · · · · · ·Do you see that?
·8· · · · A.· Right.· Uh-huh.
·9· · · · Q.· And can you just take a moment to review the
10· ·four steps that it lists?
11· · · · A.· (Witness complies.)
12· · · · · · · · ·Okay.· Yes.
13· · · · Q.· And these -- again, this newsletter is from
14· ·2012.· These four steps are describing the four steps
15· ·for groups and individuals who want to participate in
16· ·the voluntary program; is that right?
17· · · · A.· Yes.
18· · · · Q.· And they're pretty similar to the four steps
19· ·that are currently available on the health department's
20· ·charitable feeding website, right?
21· · · · A.· Yes.
22· · · · Q.· Okay.· Again, at the time in 2012, the only
23· ·mandatory step was obtaining property owner consent, the
24· ·third step?
25· · · · A.· Yes.

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·1· · · · Q.· Now, do you see -- can you turn -- look with me
·2· ·at the bottom of the page.
·3· · · · A.· Okay.
·4· · · · Q.· And it says "In addition, Mayor Annise Parker
·5· ·has designated the Central Houston Public Library Plaza,
·6· ·500 McKinney Houston, 77002 as an approved charitable
·7· ·food services location for Food Not Bombs."
·8· · · · · · · · ·Did I read that correctly?
·9· · · · A.· Yes.
10· · · · Q.· So in 2012, Mayor Parker designated the Central
11· ·Library Plaza as an approved charitable food service
12· ·location, right?
13· · · · A.· Yes.
14· · · · Q.· And the mayor has the authority to decide
15· ·whether to designate city properties as approved
16· ·charitable food locations, right?
17· · · · A.· Yes.
18· · · · Q.· Okay.· Do you know why Mayor Parker decided to
19· ·designate the Central Library Plaza as an approved
20· ·charitable feeding site?
21· · · · A.· No.
22· · · · Q.· You don't know why?
23· · · · A.· No.
24· · · · Q.· Okay.· Do you have any guess as to why Mayor
25· ·Parker designated the Central Library Plaza as an

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·1· ·approved charitable feeding site?
·2· · · · A.· No.
·3· · · · · · · · ·MS. ANDERSON:· Objection; form.
·4· · · · · · · · ·You may answer if you can.
·5· · · · A.· No, I don't know why.
·6· · · · Q.· (BY MR. HIROSHIGE)· Okay.· And you can take a
·7· ·moment -- let me finish my question.
·8· · · · A.· Okay.
·9· · · · Q.· And you can take a brief pause too so that I
10· ·can get the question across.
11· · · · · · · · ·Now, was the health department involved in
12· ·the decision to approve the Central Library Plaza as an
13· ·approved charitable feeding location in 2012?
14· · · · A.· Not that I'm aware of.
15· · · · Q.· Okay.· Do you know if the health department
16· ·agreed with Mayor Parker's decision to designate the
17· ·Central Library Plaza as an approved charitable feeding
18· ·site in 2012?
19· · · · · · · · ·MS. ANDERSON:· Objection; form.
20· · · · A.· If the mayor designated that as a charitable
21· ·feeding site, they're just part of the list of
22· ·charitable feeding sites.
23· · · · Q.· (BY MR. HIROSHIGE)· Okay.· So the mayor can --
24· ·in certain situations, the mayor can have the final word
25· ·of designating a property as a charitable feeding site?

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·1· · · · · · · · ·Okay.· So -- and this -- a part of this
·2· ·entry, they were registered for five different dates at
·3· ·Peggy's Point Plaza in June of 2016; is that right?
·4· · · · A.· Yes, sir.
·5· · · · Q.· And so I guess, aside from this, was Truc Lam
·6· ·Meditation Center frequently conducting charitable
·7· ·feedings at city parks?
·8· · · · A.· According to the schedule, it looks like yes.
·9· · · · Q.· Okay.· But do you remember, you know, aside
10· ·from what you're looking at now, whether this group was
11· ·frequently conducting charitable feedings at city parks?
12· · · · A.· Other than just this list, that's the only way
13· ·I know.
14· · · · Q.· Now, can you turn with me to the next page, and
15· ·there's -- in the second entry, do you see the event
16· ·Breakfast Club Ministry Charitable Feeding?
17· · · · A.· Yes.
18· · · · Q.· Are you familiar with the group Breakfast Club
19· ·Ministry?
20· · · · A.· No, sir.
21· · · · Q.· Okay.· And it lists the center as Peggy's Point
22· ·Plaza Park, right?
23· · · · A.· Yes.
24· · · · Q.· The date as June 2016, right?
25· · · · A.· Yes.

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·1· · · · Q.· So it appears that this group registered to
·2· ·conduct a charitable feeding at Peggy's Point Plaza on
·3· ·June 4th, 2016?
·4· · · · A.· Yes.
·5· · · · Q.· And so there were charitable feedings happening
·6· ·frequently at City of Houston parks in May and June
·7· ·of 2016, right?
·8· · · · A.· Yes.
·9· · · · Q.· Okay.· And putting this calendar to the side,
10· ·like, there were charitable feedings happening at City
11· ·of Houston parks frequently in early 2016, right?
12· · · · A.· Yes.
13· · · · Q.· And Peggy's Point was a particularly popular
14· ·approved charitable feeding site, right?
15· · · · A.· Yes.
16· · · · Q.· Okay.· And aside from this list, are you
17· ·familiar with any of the other groups that would conduct
18· ·charitable food service events at Peggy's Point?
19· · · · A.· No.· Other than just what's on this list.
20· · · · Q.· Okay.· So you -- off the top of your head,
21· ·there's not --- you don't remember any other groups that
22· ·were there frequently?
23· · · · A.· No.
24· · · · Q.· Okay.· But as we read in Ms. Gray's e-mail
25· ·earlier, there were other city parks that were approved

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·1· ·charitable feeding sites as well, right?
·2· · · · A.· Yes.
·3· · · · Q.· For instance, if we look at the permit list
·4· ·still on City of Houston 000185 in that first entry,
·5· ·there's -- this feeding was scheduled to take place at
·6· ·Tranquility Park, right?
·7· · · · A.· Yes.
·8· · · · Q.· And that was another one of the approved city
·9· ·parks in early 2016?
10· · · · A.· Yes, sir.
11· · · · Q.· Okay.· I'm going to pass you what we've marked
12· ·as Exhibit No. 34.
13· · · · · · · · ·(Exhibit No. 34 was marked.)
14· · · · Q.· (BY MR. HIROSHIGE)· And on the first page of
15· ·this e-mail, can you look with me at the bottom of this
16· ·page where it says "On Tuesday, July 5, 2016, McCoy,
17· ·slash [sic], David."
18· · · · · · · · ·Do you see that?
19· · · · A.· Yes.
20· · · · Q.· Okay.· So this was an e-mail sent by David
21· ·McCoy on July 5th, 2016?
22· · · · A.· Yes.
23· · · · Q.· And at the time he was the chief sanitarian in
24· ·charge of charitable feeding?
25· · · · A.· Yes.

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·1· ·concerned with the area where it was.· You know where
·2· ·Sears used to be, and that's Peggy's Point Plaza.· And
·3· ·so you have a lot of homeless people in that area.· And
·4· ·you have people that have other intentions.· So there
·5· ·were concerns with safety.· So I just kind of gave them
·6· ·a little direction on looking out, contact HPD or parks
·7· ·and recreation and police if they had any problems with
·8· ·anyone.
·9· · · · Q.· Okay.· What do you mean by people with certain
10· ·intentions at Peggy's Point?
11· · · · A.· Well, everyone -- just because a person is
12· ·homeless, there's -- when I say "other intentions," you
13· ·have people out there doing drugs.
14· · · · Q.· Okay.
15· · · · A.· That's what I meant.
16· · · · Q.· So the City was recognizing that there was some
17· ·drug issues at Peggy's Point Plaza among the homeless
18· ·people there?
19· · · · A.· Based on what I recognized the day I was out
20· ·there.· And I guess at some point the City decided, hey,
21· ·it's a risk.
22· · · · Q.· And did the City identify similar drug and
23· ·safety issues with other city parks at the time in 2016?
24· · · · A.· I only heard something on the news about an
25· ·incident at -- was it Hermann Park?

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·1· · · · Q.· Okay.
·2· · · · A.· Hermann Park.
·3· · · · Q.· And it appears that David McCoy is referencing
·4· ·that incident in this e-mail, right?
·5· · · · · · · · ·MS. ANDERSON:· Objection; form.
·6· · · · Q.· (BY MR. HIROSHIGE)· David McCoy is referencing
·7· ·an incident at Hermann Park related to purple kush use
·8· ·in this e-mail, right?
·9· · · · A.· Yes.
10· · · · Q.· And do you know if that's the same incident
11· ·that you remember seeing on the news?
12· · · · A.· He makes reference to Hermann Park in his
13· ·e-mail.
14· · · · Q.· And so aside from Hermann Park and Peggy's
15· ·Point Plaza, are you aware of any drug and safety issues
16· ·with other city parks at the time in 2016?
17· · · · A.· No.
18· · · · Q.· Now, in 2016, the parks department -- or let me
19· ·scratch that.
20· · · · · · · · ·In 2016, the City suspended charitable
21· ·feeding at all city parks, right?
22· · · · A.· Yes.
23· · · · Q.· And the decision to suspend charitable feeding
24· ·at all city parks, did that come from the mayor's
25· ·office?

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·1· · · · A.· Yes.
·2· · · · Q.· Okay.· And why did the -- why did the mayor
·3· ·decide to suspend charitable feedings at all city parks?
·4· · · · A.· I can't --
·5· · · · · · · · ·MS. ANDERSON:· Objection; form.
·6· · · · A.· I can't specifically say why he decided to
·7· ·suspend it.
·8· · · · Q.· (BY MR. HIROSHIGE)· Do you know why the mayor
·9· ·decided to suspend charitable feeding at all city parks
10· ·in 2016?
11· · · · A.· Based on this e-mail, safety reasons as
12· ·indicated by Mr. McCoy.
13· · · · Q.· Okay.
14· · · · A.· Safety and drugs.
15· · · · Q.· And do you know what criteria the mayor used to
16· ·suspend all charitable feedings at city parks in 2016?
17· · · · A.· No, I do not.
18· · · · Q.· Okay.· And then if we go to the next e-mail up
19· ·in the thread, so in the middle of the page, we're just
20· ·looking at where it says "From:· Breakfast Club
21· ·Ministry."
22· · · · · · · · ·Do you see that?
23· · · · A.· Yes.
24· · · · Q.· And Breakfast Club Ministry was one of the
25· ·groups conducting feedings at Peggy's Point that we were

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·1· ·just looking at, right?
·2· · · · A.· Yes.
·3· · · · Q.· Okay.· And in this e-mail it -- it's -- it says
·4· ·"Hello, David.· We would like to know if you have any
·5· ·updates on the feeding events.· We are dedicated to our
·6· ·community and specifically with our homeless
·7· ·populations.· We are very anxious about getting back
·8· ·into the parks and serving our community."
·9· · · · · · · · ·Did I read that correctly?
10· · · · A.· Yes.
11· · · · Q.· Okay.· And this e-mail was sent to David McCoy
12· ·on September 13th, 2016?
13· · · · A.· Yes.
14· · · · Q.· And so this was about two months after the
15· ·e-mail he sent in July of 2016, right?
16· · · · A.· Right.
17· · · · Q.· And -- so in -- in September of 2016, the --
18· ·or -- sorry.· Let's go up to the top of this page.
19· · · · · · · · ·Do you see this e-mail from David McCoy on
20· ·September 13th, 2016?
21· · · · A.· Yes.
22· · · · Q.· Okay.· And in his e-mail he writes "Currently,
23· ·no city parks or other city-owned properties are
24· ·available for use as charitable feeding event sites.
25· ·Also, the health department does not have a list of

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·1· ·parks prior to the suspension of parks in July of 2016?
·2· · · · A.· No.
·3· · · · Q.· Okay.· And the health department at the time in
·4· ·September of 2016 would tell individuals or groups that
·5· ·wanted to conduct charitable food service events that no
·6· ·city properties were available?
·7· · · · · · · · ·MS. ANDERSON:· Objection; form.
·8· · · · A.· Would you repeat your question again?
·9· · · · Q.· (BY MR. HIROSHIGE)· Yeah.· So the -- for groups
10· ·or individuals that wanted to conduct charitable food
11· ·services events in September of 2016 -- let me rephrase.
12· · · · · · · · ·For groups of individuals that wanted to
13· ·conduct charitable food service events on city property
14· ·in September of 2016, the health department would tell
15· ·them that no city properties are available, right?
16· · · · A.· If they called, more than likely they would
17· ·have told them no.
18· · · · Q.· Okay.· So they would be told that no city
19· ·properties were available?
20· · · · A.· Right.
21· · · · Q.· Okay.· Now, did the mayor's office develop a
22· ·plan for charitable feeding at city parks to resume?
23· · · · A.· Not that I'm aware of.
24· · · · Q.· Okay.· Did the parks department develop a plan
25· ·for charitable feeding at city parks to resume?

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·1· · · · A.· Not that I'm aware of.
·2· · · · Q.· Now, let's move to the -- to the following
·3· ·year, 2017.· In 2017, did the City offer any alternative
·4· ·locations to the groups who previously provided
·5· ·charitable feedings at city parks before they were
·6· ·suspended?
·7· · · · A.· Not that I'm aware of.
·8· · · · Q.· Now, was the City concerned that charitable
·9· ·feedings in the city would decrease because there were
10· ·no city-owned properties available for charitable
11· ·feedings?
12· · · · A.· Not that I've been made aware of.
13· · · · Q.· Okay.· But you testified earlier that the
14· ·health department wanted to make sure that charitable
15· ·feedings were geographically distributed based on need
16· ·throughout the city, right?
17· · · · A.· Right.
18· · · · Q.· And so was the health department concerned that
19· ·there were no city-owned properties available for
20· ·charitable feeding in 2017?
21· · · · A.· I can't --
22· · · · · · · · ·MS. ANDERSON:· Objection; form.
23· · · · · · · · ·MR. HIROSHIGE:· You can answer.
24· · · · · · · · ·MS. ANDERSON:· You can answer if you know.
25· · · · A.· There was a concern by teaching the class -- I

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·1· ·will put it to you that way.· There was a concern where
·2· ·can we feed, and so I just directed them to private
·3· ·property.
·4· · · · Q.· (BY MR. HIROSHIGE)· Okay.· So individuals or
·5· ·groups who took the class would ask are there any city
·6· ·properties available for feeding?
·7· · · · A.· Right.
·8· · · · Q.· And you would tell them that they have to use
·9· ·private property?
10· · · · A.· Yes.
11· · · · Q.· Okay.· Now, I'm going to hand you what we
12· ·marked as Exhibit No. 35.
13· · · · · · · · ·(Exhibit No. 35 was marked.)
14· · · · Q.· (BY MR. HIROSHIGE)· If you'll look with me at
15· ·the bottom of the first page, do you see an e-mail from
16· ·Wendy Baimbridge?
17· · · · A.· Yes.
18· · · · Q.· And this e-mail was sent on August 8th, 2018;
19· ·is that right?
20· · · · A.· Yes.
21· · · · Q.· And it was sent to Patrick Key?
22· · · · A.· Yes.
23· · · · Q.· And you mentioned this earlier, but what was
24· ·Patrick Key's role in the health department in August of
25· ·2018?

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·1· · · · · · · · ·Do you see that?
·2· · · · A.· Yes.
·3· · · · Q.· Do you know who James Koski is?
·4· · · · A.· No, sir.
·5· · · · Q.· Okay.· But at least according to the domain of
·6· ·his e-mail address, he was with the mayor's office; is
·7· ·that right?
·8· · · · A.· Yes.· Okay.
·9· · · · Q.· Okay.· And in this e-mail he addresses it to
10· ·Chief Finner.
11· · · · · · · · ·Do you see that?
12· · · · A.· Yes, sir.
13· · · · Q.· And Troy Finner was the chief of police at the
14· ·time in 2020, right?
15· · · · A.· Yes.
16· · · · Q.· And in this e-mail Mr. Koski writes "Thank you
17· ·for the updates about the unauthorized feedings at
18· ·Hermann Square.· Any feeding requires the property
19· ·owner's permission.· The City does not authorize
20· ·feedings at Hermann Square."
21· · · · · · · · ·Did I read that correctly?
22· · · · A.· Yes.
23· · · · Q.· So Director Williams in the e-mail we just read
24· ·told Commander Conn to let Food Not Bombs feed at
25· ·Hermann Square during the pandemic; is that right?

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·1· · · · A.· Yes.
·2· · · · Q.· But James Koski from the mayor's office said
·3· ·that the City does not authorize feedings at Hermann
·4· ·Square, right?
·5· · · · A.· Right.
·6· · · · Q.· And so the mayor's office has the final word of
·7· ·whether a city property is allowed for charitable
·8· ·feeding, right?
·9· · · · A.· Yes.
10· · · · Q.· Okay.· And did the mayor's office speak with
11· ·Director Williams or anyone else at the Houston Health
12· ·Department about feedings at Hermann Square at the time?
13· · · · A.· Not that I'm aware of.
14· · · · Q.· Okay.· And underneath that, Mr. Koski writes
15· ·"For years, the City has authorized feedings at the
16· ·Central Library Plaza and adjacent sidewalks along Lamar
17· ·Street.· That continues to be an authorized area, and
18· ·that's where Food Not Bombs or other organizations
19· ·should be directed to go, which is consistent with where
20· ·they have provided feedings for years."
21· · · · · · · · ·Did I read that correctly?
22· · · · A.· Yes.
23· · · · Q.· So in March of 2020, the City had authorized
24· ·feedings at the Central Library Plaza and adjacent
25· ·sidewalks for years; is that right?

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·1· · · · A.· Yes.
·2· · · · Q.· Do you know what years those were?
·3· · · · A.· That the City authorized the library?
·4· · · · Q.· Yes.
·5· · · · A.· They would have started in 2012.
·6· · · · Q.· Okay.· So they were -- the Central Library was
·7· ·an authorized location from 2012 to 2020 when Mr. Koski
·8· ·wrote this?
·9· · · · A.· The plaza.
10· · · · Q.· Okay.· Okay.· But Mr. Koski also refers to the
11· ·adjacent sidewalks along Lamar Street, right?
12· · · · A.· Okay.
13· · · · Q.· And those were also an approved site for
14· ·charitable feeding in 2020?
15· · · · A.· According to him, yes.· According to this, yes.
16· · · · Q.· Okay.· But in 2018 and 2019, the health
17· ·department did not tell individuals inquiring about
18· ·feeding on city property that the Central Library wasn't
19· ·an available site, right?
20· · · · A.· I interpreted that as all of the properties.
21· ·Not just the parks but all the properties.
22· · · · Q.· So in other words, in 2018 and 2019, the health
23· ·department would say there were no city properties
24· ·available for charitable feeding?
25· · · · A.· Right.

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·1· · · · A.· In environmental services, we have what we call
·2· ·a FOG group, and they deal with fats, oils, and grease.
·3· ·So they're part of the consumer health services bureau
·4· ·umbrella.
·5· · · · Q.· Okay.· I guess my question is are there other
·6· ·bureau chiefs at the Houston Health Department other
·7· ·than Christopher Sparks' role?
·8· · · · A.· Yes.· There are bureau chiefs in different --
·9· ·other divisions within the health department.
10· · · · Q.· Okay.· And then who does Christopher Sparks
11· ·report to in the health department?
12· · · · A.· Our assistant director Roger Sealy.
13· · · · Q.· Okay.· And how do you spell Roger Sealy's last
14· ·name?
15· · · · A.· S-E-A-L-Y.
16· · · · Q.· And what is Roger Sealy the assistant director
17· ·of?
18· · · · A.· The assistant director -- he would be
19· ·responsible for all programs or division bureaus under
20· ·his chain of command, if you want to call it that.
21· · · · Q.· Okay.· So turning back this e-mail that -- the
22· ·subject line -- do you see it says "Addition to CHS
23· ·Charitable Feeding Web Page."
24· · · · A.· Yes.· Uh-huh.
25· · · · Q.· Okay.· And in your e-mail you wrote "Good

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·1· ·morning, David.· Please add the sentence below to the
·2· ·Charitable Feeding web page under the section:· The
·3· ·Program Consists of Four Basic Steps.· Lists of City of
·4· ·Houston Properties Approved for Charitable Food Service
·5· ·Events:· 61 Riesner Street, Houston, TX 77002.
·6· · · · · · · · ·"The mayor's office needs this information
·7· ·placed on the page today as soon as possible."
·8· · · · · · · · ·Did I read that correctly?
·9· · · · A.· Yes.
10· · · · Q.· Okay.· So the -- the mayor -- did the mayor's
11· ·office decide to designate 61 Riesner Street, Houston,
12· ·TX 77002 as an approved charitable feeding location?
13· · · · A.· I would say yes.· Well -- I would say yes.
14· · · · Q.· Okay.· And why would you say yes?· I guess --
15· ·you had some hesitation.
16· · · · A.· Well, I know that I couldn't do it.
17· · · · Q.· Huh?
18· · · · A.· I know I couldn't do it.
19· · · · Q.· Okay.· So it was the --
20· · · · A.· Right.
21· · · · Q.· That decision rested in the mayor's office --
22· · · · A.· In the mayor's office, yes.
23· · · · Q.· In the mayor's office?
24· · · · A.· Yes.
25· · · · Q.· Do you know if that decision came from the

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·1· ·mayor himself or someone else in the mayor's office?
·2· · · · A.· Our -- Mr. Sparks and I got an e-mail.· I don't
·3· ·remember what -- exactly who it was.· But it was
·4· ·notifying us that, hey, 61 Riesner is going to be the
·5· ·location where charitable feeding is going to be done.
·6· · · · Q.· So that decision was made outside of the health
·7· ·department?
·8· · · · A.· Yes.
·9· · · · Q.· And then -- but then you at the health
10· ·department were notified that that decision was made and
11· ·61 Riesner was approved?
12· · · · A.· Yes.
13· · · · Q.· Yes.· Okay.· And did the -- did the -- did the
14· ·mayor -- scratch that.
15· · · · · · · · ·Did the mayor's office explain why they
16· ·wanted to limit charitable feeding to 61 Riesner?
17· · · · A.· We weren't provided that information.· We were
18· ·just instructed to the one -- when they fix your web
19· ·page, include that address.· I think we also received a
20· ·copy of the HPD notification signs.· And so it was kind
21· ·of harsh.· So I just kind of made our instructions a
22· ·little bit softer.· You know, hey, report to 61 Riesner.
23· ·It's available, you know.
24· · · · Q.· Okay.· So the -- but the mayor's office
25· ·provided both the instruction that 61 Riesner was going

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·1· ·to -- or let me -- let me ask one question at a time.
·2· · · · · · · · ·The mayor's office provided the instruction
·3· ·that 61 Riesner was going to be the only approved City
·4· ·of Houston property for charitable feeding?
·5· · · · A.· That's 42 -- well, according to the information
·6· ·that I had gotten.
·7· · · · Q.· Okay.· And then who sent you the notices that
·8· ·you are talking about?
·9· · · · A.· I mean, the e-mail isn't here -- listed in
10· ·this.· I don't remember if it came from HPD or -- I
11· ·forgot what -- which department it came from.
12· · · · Q.· Okay.
13· · · · A.· Maybe a different department or --
14· · · · Q.· Okay.· But those notices weren't drafted by the
15· ·health department?
16· · · · A.· No.
17· · · · Q.· Okay.· Now if we turn now to City of Houston
18· ·110288, and then do you see around the top of the page
19· ·there is an e-mail from Christopher Sparks?
20· · · · A.· Right.
21· · · · Q.· And it was sent on Thursday, February 9th,
22· ·2023?
23· · · · A.· Yes.
24· · · · Q.· Okay.· So this is two days after the e-mail we
25· ·were just reviewing, right?

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·1· · · · Q.· So under -- do you see in the bold --
·2· · · · A.· Yes.
·3· · · · Q.· -- this first -- okay.
·4· · · · · · · · ·And this list of three requirements, these
·5· ·are the health department's special requirements for
·6· ·approved charitable food service locations on City of
·7· ·Houston property, right?
·8· · · · A.· This is the requirements listed on the
·9· ·notification that we received based upon the police
10· ·signage.
11· · · · Q.· Okay.· So these -- so some -- someone outside
12· ·of the health department developed these special
13· ·requirements?
14· · · · A.· Yes.
15· · · · · · · · ·MS. ANDERSON:· Objection; form.
16· · · · Q.· (BY MR. HIROSHIGE)· And then the next set, it
17· ·says "Each charitable food service provider on City of
18· ·Houston property must have the following"?
19· · · · A.· Yes.
20· · · · Q.· And these are the special requirements for
21· ·approved charitable food service providers that the
22· ·health department adopted in 2003; is that right?
23· · · · A.· Yes.
24· · · · Q.· Okay.· And underneath -- in Christopher Sparks'
25· ·e-mail, he goes on.· "If possible, may I request this be

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·1· ·handled as expeditiously as possible as it is a request
·2· ·from the mayor's office.· Thank you."
·3· · · · · · · · ·So did the mayor's office come up with
·4· ·these special requirements governing approved charitable
·5· ·food services locations on City of Houston property?
·6· · · · · · · · ·MS. ANDERSON:· Objection; form.
·7· · · · · · · · ·MR. HIROSHIGE:· You can answer.
·8· · · · A.· I was not advised who -- whether it came from
·9· ·the mayor's office or not.
10· · · · Q.· (BY MR. HIROSHIGE)· Okay.· But the health
11· ·department did not come up with these special
12· ·requirements for approved charitable food service
13· ·locations on City of Houston property?
14· · · · · · · · ·MS. ANDERSON:· Objection; form.
15· · · · A.· No.· We just followed what was -- the verbiage
16· ·that was already provided.
17· · · · Q.· (BY MR. HIROSHIGE)· Okay.· And so the verbiage
18· ·was provided by some city officials or departments
19· ·outside of the Houston Health Department?
20· · · · A.· Right.
21· · · · · · · · ·MS. ANDERSON:· Objection; form.
22· · · · A.· I'm sorry.
23· · · · Q.· (BY MR. HIROSHIGE)· And when the health
24· ·department adopted these special requirements in
25· ·February of 2023, did it have to seek approval by the

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·1· ·mayor's office before adopting these requirements?
·2· · · · A.· Not understanding your question.
·3· · · · Q.· Okay.· When -- in the -- so did -- did the --
·4· ·let me ask it this way.
·5· · · · · · · · ·The health department ultimately adopted
·6· ·these special requirements in February of 2023, right?
·7· · · · A.· I would say as -- as to add this to our web
·8· ·page and information about feeding the homeless at --
·9· ·specifically for 61 Riesner.
10· · · · Q.· So the health department was just -- was asked
11· ·to add these special requirements?
12· · · · A.· Right.· I don't remember the verbiage of what
13· ·was -- we were actually sent.· But like I said, when I
14· ·read it, it was -- felt a little harsh.· So I just took
15· ·it and just softened it up because, you know, you want
16· ·people to go out there and still do the feeding.                        I
17· ·think the verbiage might be about arrest.· So I wanted
18· ·to like -- let's just give them the good part of it and
19· ·go to 61 Riesner.
20· · · · Q.· Okay.· Okay.· And did the health department
21· ·alter any of these special requirements before adopting
22· ·them?
23· · · · A.· I think we were asked to include especially the
24· ·bottom part because, the top part, this (indicating), we
25· ·had nothing to do with this.

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·1· · · · A.· Exhibit 31?
·2· · · · Q.· Exhibit 31.
·3· · · · · · · · ·MS. ANDERSON:· It's not going to be in your
·4· ·book.· It's going to be in your stack.· It was the first
·5· ·one we labeled today.· It looks like this.
·6· · · · · · · · ·THE WITNESS:· Oh, okay.
·7· · · · · · · · ·MS. ANDERSON:· So go back to the first one
·8· ·in the stack.
·9· · · · · · · · ·THE WITNESS:· I got it.
10· · · · · · · · ·MS. ANDERSON:· They're in order.
11· · · · · · · · ·THE WITNESS:· Okay.
12· · · · Q.· (BY MR. HIROSHIGE)· Are you able to --
13· · · · · · · · ·MS. ANDERSON:· She's at 38 -- okay.· You
14· ·got 31 -- yeah.
15· · · · · · · · ·MR. HIROSHIGE:· Okay.
16· · · · Q.· (BY MR. HIROSHIGE)· And can you turn with me to
17· ·City of Houston 000014?
18· · · · A.· Okay.
19· · · · Q.· And do you see on this page "Special
20· ·Requirements" in bold?
21· · · · A.· Yes.
22· · · · Q.· And so these -- again, these regulations were
23· ·adopted by the health department in February of 2023?
24· · · · A.· Right.
25· · · · Q.· Right?· Sorry.· Is that right?

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·1· · · · A.· That's right.
·2· · · · Q.· And prior to these regulations, the health
·3· ·department did not have any special requirements for
·4· ·each approved charitable food service location on city
·5· ·property, right?
·6· · · · A.· Right.
·7· · · · Q.· Okay.· And are these special requirements still
·8· ·in effect as we sit here today?
·9· · · · A.· Yes.
10· · · · Q.· Okay.· Let me ask you this.· Do you know if
11· ·these special requirements are -- if you want to take a
12· ·look around, I -- are these special requirements still
13· ·posted on the health department's charitable feeding web
14· ·page today?
15· · · · A.· Yes.
16· · · · Q.· Okay.· And let's take a look first at the "Each
17· ·approved charitable food service location on City of
18· ·Houston property must have the following."
19· · · · · · · · ·Do you see that?
20· · · · A.· Uh-huh.
21· · · · Q.· And the first requirement listed here is
22· ·"Adequate parking for the personnel conducting the food
23· ·service event.· The minimum number of parking spaces
24· ·shall be ten dedicated spaces during charitable food
25· ·service events."

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·1· · · · · · · · ·Did I read that correctly?
·2· · · · A.· Yes.
·3· · · · Q.· And what does it mean for a parking space to be
·4· ·a dedicated parking space under this requirement?
·5· · · · A.· I wasn't the author.· I don't know.
·6· · · · Q.· Okay.· Does -- do you know if the parking has
·7· ·to be free of charge in order to qualify under this
·8· ·requirement?
·9· · · · A.· It -- no, I don't know.
10· · · · Q.· Okay.· And do you know if the parking spots are
11· ·marked in any way to show that they're dedicated for
12· ·charitable food service events?
13· · · · A.· Let me be specific.· Are you talking about
14· ·61 Riesner?
15· · · · Q.· Let's go there.· Sure.· So at 61 Riesner, do
16· ·you know if the parking spots for charitable food
17· ·service events are marked in any way?
18· · · · A.· They're -- the way that the lot is laid out,
19· ·there's -- it's like a triangle.· So there's parking
20· ·spaces there.· Then if you go across the street, now
21· ·you're in the municipal court paid parking lot.· So
22· ·that's where they don't go.
23· · · · Q.· Okay.
24· · · · A.· So the free parking -- they've assigned it
25· ·right in that triangle.

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·1· · · · A.· I observed vehicles parked in that triangle,
·2· ·yes.
·3· · · · Q.· Okay.· And those vehicles belong to charitable
·4· ·food service providers?
·5· · · · A.· I'm going to assume they belong to charitable
·6· ·food service providers.
·7· · · · Q.· Okay.· And I guess -- so looping back to my
·8· ·question, were those -- were the parking spots that you
·9· ·saw being used marked for charitable food service
10· ·providers in any way?
11· · · · A.· No, there's no marking.
12· · · · Q.· Okay.· But that parking lot belongs to the City
13· ·of Houston, right?
14· · · · A.· Yes.
15· · · · Q.· Okay.· So the City can dedicate its own parking
16· ·spaces in order to fill this parking requirement?
17· · · · A.· If the author intended that, yes.
18· · · · Q.· Okay.· Now, the next -- so the -- I guess
19· ·the -- or one more question on the parking.· So this --
20· ·again, this adequate parking, that is -- strike that.
21· ·Let me ask this.
22· · · · · · · · ·So the City provides the adequate parking
23· ·spaces after a site is approved for charitable feedings;
24· ·is that right?
25· · · · A.· That's what it appears, yes.

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·1· · · · Q.· Okay.· And then the next thing listed is
·2· ·"Adequate trash containment to contain all trash,
·3· ·refuse, and litter on the site of the food service
·4· ·event."
·5· · · · · · · · ·And so let's -- let's go back to 61 Riesner
·6· ·for this requirement.· So before 61 Riesner was approved
·7· ·as a charitable feeding site, was there a dumpster in
·8· ·that parking lot?
·9· · · · A.· In that lot?
10· · · · Q.· Yes.
11· · · · A.· Not that I'm aware of.
12· · · · Q.· Okay.
13· · · · A.· And I was going to say there was construction
14· ·going on; so there could have been a dumpster there for
15· ·construction that might have been going on at
16· ·61 Riesner.
17· · · · Q.· And do you know if the dumpster was added to
18· ·the 61 Riesner parking lot after it was approved for
19· ·charitable feeding?
20· · · · A.· It was -- yes.· It was added, yes.
21· · · · Q.· So the City provides the adequate trash
22· ·containment after a site is approved for charitable
23· ·feeding, right?
24· · · · A.· Yes.
25· · · · Q.· Okay.· And the last requirement here says "Two

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·1· ·portable restrooms with handwashing stations available
·2· ·during food service events and available 24 hours per
·3· ·day, seven days per week."
·4· · · · · · · · ·Did I read that correctly?
·5· · · · A.· Yes.
·6· · · · Q.· And again, the at -- at the 61 Riesner site
·7· ·they're -- let me ask it this way.
·8· · · · · · · · ·The City provided portable restrooms at
·9· ·61 Riesner site after it was approved for charitable
10· ·feeding; is that right?
11· · · · A.· Yes.
12· · · · Q.· And the City provided handwashing stations at
13· ·the 61 Riesner site after it was approved for charitable
14· ·feeding?
15· · · · A.· Yes.
16· · · · Q.· Okay.· And are -- are those -- are the portable
17· ·restrooms at 61 Riesner unlocked 24/7?
18· · · · A.· I do know that they are always available when
19· ·there's an event going on.· When there's an event there,
20· ·they would be opened, unlocked.
21· · · · Q.· But there are locks on both of the portable
22· ·restrooms at the 61 Riesner location, right?
23· · · · A.· They have the ability to be locked.
24· · · · Q.· Okay.· And so does -- which -- which feedings
25· ·does the City unlock the portable restrooms for at

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·1· ·61 Riesner?
·2· · · · A.· I would say anyone that probably has either
·3· ·made an arrangement or the City has -- who is that --
·4· ·Bread of Life who did probably the majority of the
·5· ·feeding, they had access to the restrooms, dumpsters,
·6· ·shipping container.
·7· · · · Q.· Okay.· So was there a lock on the shipping
·8· ·container as well at the 61 Riesner?
·9· · · · A.· It appears that it could be locked because all
10· ·the tables and things like that and chairs were placed
11· ·in there.
12· · · · Q.· Okay.· And then Bread of Life had the ability
13· ·to unlock the storage container and the portable
14· ·restrooms?
15· · · · A.· Yes.
16· · · · Q.· And then who -- do any City employees have the
17· ·ability to unlock the storage container and the portable
18· ·restrooms?
19· · · · A.· Possibly the police officers that work there.
20· · · · Q.· Okay.· So the police officers -- were there
21· ·certain police officers that were routinely at
22· ·61 Riesner feedings?
23· · · · A.· All I know is there were police officers there.
24· ·When you say were there certain police officers, don't
25· ·know if they were the same ones all the time.

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·1· · · · Q.· Okay.· And I guess, aside from the Houston
·2· ·Police Department officers, would any other city
·3· ·employees regularly attend feedings at 61 Riesner?
·4· · · · A.· No, sir.
·5· · · · Q.· Okay.· So that -- the 61 Riesner site was
·6· ·managed by the Houston Police Department while a feeding
·7· ·was happening; is that right?
·8· · · · A.· I thought they managed both crowd control
·9· ·and -- actually there's two, the dumpster or the
10· ·restrooms.
11· · · · Q.· Okay.· And do you know if meal tickets are
12· ·handed out to people who are coming to receive free food
13· ·at the 61 Riesner site?
14· · · · A.· The time that I observed, they were not.· It
15· ·was not organized that way.
16· · · · Q.· Okay.· And how many times have you personally
17· ·been to the 61 Riesner site during a feeding?
18· · · · A.· Probably three times.
19· · · · Q.· Okay.· And when -- when did you visit?
20· · · · A.· Maybe not too long after operating.· It was at
21· ·night.· I just drove, you know, drove by -- drove
22· ·through there to kind of get an idea what the layout
23· ·looked like.· So when I'm teaching a class, I can
24· ·describe what's there and how things are set up.
25· · · · · · · · ·Another time there was a complaint that

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·1· ·someone had filed about, you know, oh, it's disorganized
·2· ·and they ran out of water and just different --
·3· ·disorganization.· So I drove by, and it was a long line
·4· ·of people.· I mean they were in line.· There was also
·5· ·tables and chairs for people to sit and have their meal.
·6· · · · · · · · ·The feeding was down in a mobile unit, a
·7· ·big truck, a big kitchen on wheels.· And then they have
·8· ·additional tables out there.· And they have chips and
·9· ·stuff like that on one table, other items and things
10· ·like that.
11· · · · Q.· Okay.· And the tables and chairs, those are
12· ·placed back in the storage container when the feeding is
13· ·done?
14· · · · A.· Yes.
15· · · · Q.· Okay.· Now, as we discussed earlier, the City
16· ·still doesn't allow charitable feedings at city parks,
17· ·right?
18· · · · A.· Right, they still don't.· That's correct.
19· · · · Q.· And -- so even if a city park has more than ten
20· ·spaces, public restrooms, and adequate trash
21· ·containment, it'll still not be approved as a charitable
22· ·feeding site at this time?
23· · · · A.· Right.· According to the ordinance, it would
24· ·not be approved.
25· · · · Q.· Okay.· And that's because the --

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·1· · · · A.· I'm sorry.
·2· · · · Q.· Yeah.· And that's because the City has
·3· ·suspended charitable feedings --
·4· · · · A.· Right, it's suspended.
·5· · · · Q.· Okay.· And so just like -- even if a property
·6· ·has the ability to meet these special requirements, that
·7· ·doesn't necessarily mean it will be approved for
·8· ·charitable feeding, right?
·9· · · · A.· If they probably have these things, we more
10· ·than likely will approve them.· I'm sorry.· Private
11· ·property or -- a park, we -- it's been suspended.
12· · · · Q.· Okay.
13· · · · A.· But if a person has a parking lot and says,
14· ·hey, I want to feed the homeless and I'm going to have
15· ·these things out there for them, we would not -- we
16· ·would not disapprove of it.
17· · · · Q.· Okay.· But if a city park met these three
18· ·requirements, feeding would still not be allowed there
19· ·because feeding is not allowed at city parks?
20· · · · A.· Only if the mayor allowed it.
21· · · · Q.· Okay.
22· · · · A.· So he would have to be the one to say, hey,
23· ·we're going to duplicate 61 Riesner at XYZ Park.
24· · · · Q.· Okay.· So it's ultimately up to the mayor
25· ·again, whether a feeding is going to be allowed at the

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·1· ·city park again?
·2· · · · A.· Yes.
·3· · · · Q.· But currently the mayor is still not allowing
·4· ·general feedings at city parks?
·5· · · · A.· Right.
·6· · · · Q.· Now, the next set of requirements -- you see
·7· ·where it says "Each approved charitable" -- let me make
·8· ·sure you're with me.· We're on City of Houston 000014?
·9· · · · A.· Yes.
10· · · · Q.· And in the middle of the page, it says "Each
11· ·charitable food service provider on City of Houston
12· ·property must have the following."
13· · · · · · · · ·Did I read that correctly?
14· · · · A.· Yes.
15· · · · Q.· Okay.· And then the first -- and again, these
16· ·requirements are only about groups or individuals in the
17· ·voluntary recognized program; is that right?
18· · · · A.· Yes.
19· · · · Q.· Okay.· And so the first requirement says
20· ·"Adequate personnel to conduct the food service event
21· ·and restore the site at the conclusion of the" event.
22· ·Sorry.· Let me re-read that.· "Adequate personnel to
23· ·conduct the food service event and restore the site at
24· ·the conclusion of the food service event."
25· · · · · · · · ·Did I read that correctly?

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·1· · · · A.· Yes.
·2· · · · Q.· And let's say -- let's say a group or
·3· ·individual wants to feed 100 people.· How many -- how
·4· ·many people are necessary to conduct that feeding?
·5· · · · A.· Depends on how they are doing the feeding.· Are
·6· ·they giving out sandwiches and just handing them out in
·7· ·bags, or are we buffet style?
·8· · · · Q.· Okay.· So if it's someone just handing out
·9· ·premade sandwiches, they could do it on their own,
10· ·right?
11· · · · A.· They could probably do it in about 30 minutes
12· ·or an hour.
13· · · · Q.· Okay.· But if there's a line of multiple
14· ·different food options, they would need more
15· ·personnel --
16· · · · A.· Yes.
17· · · · Q.· -- to conduct the feeding?
18· · · · A.· Yes.
19· · · · Q.· Okay.· And then the second requirement says
20· ·adequate trash receptacles, trash containment, and
21· ·removal measures to contain all trash refuse and litter
22· ·on the site of a food service event and to properly
23· ·dispose of all trash, refuse, litter, and remove unused
24· ·food from the site at the conclusion of the food service
25· ·event."

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·1· · · · A.· Yes.
·2· · · · Q.· So is it your understanding that John Moss is
·3· ·the chief of staff for council member Julian Ramirez?
·4· · · · A.· Okay.· Yes.
·5· · · · Q.· Do you know John Moss?
·6· · · · A.· No, I do not.
·7· · · · Q.· Now let's go back to the first page.· So the --
·8· ·John -- Pascale Mondesir told John Moss that no public
·9· ·property is available for charitable food service events
10· ·in May of 2024; is that right?
11· · · · A.· Yes.
12· · · · Q.· Okay.· But -- so was 61 Riesner not available
13· ·in May of 2024?
14· · · · A.· It was available in May of 2024.
15· · · · Q.· So Pascale Mondesir just got this wrong?
16· · · · A.· Yes.
17· · · · Q.· So there was one public property available, and
18· ·it was 61 Riesner?
19· · · · A.· (Nonverbal response.)
20· · · · Q.· Okay.
21· · · · · · · · ·THE REPORTER:· Is that a "yes"?
22· · · · Q.· (BY MR. HIROSHIGE)· Sorry.· Is that a "yes"?
23· · · · A.· Yes.
24· · · · Q.· Okay.· Now, like -- we can set that one aside.
25· · · · · · · · ·So as we sit here today, does the parks

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·1· ·department have authority to grant or request to engage
·2· ·in charitable feeding at Hermann Square Park in front of
·3· ·city hall?
·4· · · · A.· Not aware if they have that authority.
·5· · · · Q.· Okay.· So who decides whether charitable
·6· ·feeding will be allowed there?
·7· · · · A.· I would imagine the mayor's office.
·8· · · · Q.· Okay.· And as we sit here today, does the parks
·9· ·department have the authority to grant requests to
10· ·engage in charitable feeding at Peggy's Point Plaza?
11· · · · A.· No.· It was rescinded by the mayor.· So I'm
12· ·going to...
13· · · · Q.· Okay.· So the mayor will decide if charitable
14· ·feeding can resume at Peggy's Point Plaza?
15· · · · A.· Right.
16· · · · Q.· And as we sit here today, if someone requested
17· ·to engage in charitable feeding on the sidewalks outside
18· ·the Central Library, would the health department have
19· ·the authority to grant that request?
20· · · · A.· No.
21· · · · Q.· Okay.· And that's because the mayor has decided
22· ·that the Central Library is not available for charitable
23· ·feeding?
24· · · · A.· Right.
25· · · · Q.· Okay.· Now --

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·1· · · · · · · · ·MR. HIROSHIGE:· Let's go ahead and take a
·2· ·break.
·3· · · · · · · · ·(Recess from 1:46 p.m. to 1:53 p.m.)
·4· · · · · · · · ·THE REPORTER:· Back on the record at 1:53.
·5· · · · Q.· (BY MR. HIROSHIGE)· Ms. Beckham, as we
·6· ·discussed earlier today, the ordinance authorizes the
·7· ·health department to inspect the food handling, food
·8· ·transportation, and food service events of charitable
·9· ·food service providers, right?
10· · · · A.· Yes.
11· · · · Q.· So has the health department ever inspected the
12· ·food preparations of a registered charitable food
13· ·service provider?
14· · · · A.· A couple of times, yes.
15· · · · Q.· Okay.· And when was that?
16· · · · A.· Oh, God.· Well, I know it was before COVID.· It
17· ·might have been around 2018 -- something like that.
18· · · · Q.· Okay.· So the last time the health department
19· ·inspected the food preparation of a charitable food
20· ·service provider was around 2018?
21· · · · A.· Probably around about that time.
22· · · · Q.· Okay.· And do you remember who the health
23· ·department investigated at that time?
24· · · · A.· I did a couple of them myself.
25· · · · Q.· Okay.· And who were you investigating?

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·1· · · · A.· Right.
·2· · · · Q.· So it's not covered by the ordinance?
·3· · · · A.· It's covered by Chapter 20, yes, because it's a
·4· ·permitted kitchen.
·5· · · · Q.· Okay.
·6· · · · A.· Right.
·7· · · · Q.· But it's not covered by the charitable feeding
·8· ·ordinance because they're doing the feeding on their own
·9· ·property?
10· · · · A.· Right.
11· · · · Q.· Okay.· Now -- okay.· So now we have three.
12· ·There's the 2018 complaint across the street from
13· ·Loaves & Fishes, the 2020 complaint outside the Central
14· ·Library --
15· · · · A.· Right.
16· · · · Q.· -- and then the ongoing complaint about another
17· ·group serving feed in Loaves & Fishes' patio.
18· · · · A.· Yes.
19· · · · Q.· Aside from those complaints, are there any
20· ·other current complaints about the food safety or
21· ·sanitation for charitable feeding?
22· · · · A.· There could be.· And the reason I'm saying this
23· ·is because they're going to be listed, it depends on how
24· ·the person describes the complaint to us.· So anyone
25· ·that doesn't have a permit, we're going to call it an

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·1· ·illegal food establishment.· So I would have to go
·2· ·through the database and look by the address whether
·3· ·they're referring to someone feeding the homeless or
·4· ·not.· See what I'm saying?
·5· · · · Q.· Okay.· So -- but aside from the three
·6· ·complaints -- the 2018, the 2020 -- the 2018 across the
·7· ·street from Loaves & Fishes, 2020 outside the Central
·8· ·Library, and the current issue at Loaves & Fishes -- are
·9· ·you aware or have you seen any other food safety
10· ·complaints arising out of charitable feeding?
11· · · · A.· No.· Just those that, like I say, that I'm
12· ·aware of.
13· · · · Q.· Okay.· Now, do employees from the health
14· ·department regularly attend feedings at 61 Riesner?
15· · · · A.· No, they don't.· It's not a regular, routine
16· ·site that they would visit.
17· · · · Q.· Okay.· And earlier you mentioned that you
18· ·maintain a calendar of the groups and individuals who
19· ·are feeding at 61 Riesner; is that right?
20· · · · A.· Yes.
21· · · · Q.· And do people have to schedule a charitable
22· ·feeding on the calendar to feed there, or can they just
23· ·show up and provide food?
24· · · · A.· They could just show up.
25· · · · Q.· Okay.

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·1· · · · A.· Yeah, I would say, yes, they can just show up.
·2· · · · Q.· Okay.· So it's an optional step to get in
·3· ·contact with the health department to schedule it and
·4· ·put it on the calendar?
·5· · · · A.· Right.
·6· · · · Q.· Okay.· I'm going to hand you what I've marked
·7· ·as Exhibit 46.
·8· · · · · · · · ·(Exhibit No. 46 was marked.)
·9· · · · Q.· (BY MR. HIROSHIGE)· Take a moment to review
10· ·these pages.
11· · · · A.· (Witness complies.)
12· · · · · · · · ·Okay.
13· · · · Q.· And so this is the calendar for charitable food
14· ·service events on the health department's web page,
15· ·right?
16· · · · A.· Yes.
17· · · · Q.· And it lists some of the individuals and groups
18· ·providing food at 61 Riesner?
19· · · · A.· Yes.
20· · · · Q.· Okay.· Now, on this first page -- and so do you
21· ·see on the top where it says January 2025?
22· · · · A.· Yes.
23· · · · Q.· Okay.· So it appears that someone named
24· ·Elizabeth Tannery scheduled a charitable feeding at
25· ·Riesner on January 1st, 2025?

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·1· ·understand MADD to be referring to Mothers Against Drunk
·2· ·Driving?
·3· · · · A.· Uh-huh.· Yes.
·4· · · · Q.· Okay.· And again, the investigator of this
·5· ·complaint was Robert Stine?
·6· · · · A.· Yes.
·7· · · · Q.· And again, he explained to the complainant
·8· ·or -- again he sent an e-mail to the complainant that
·9· ·the activity does not require a permit since it is not a
10· ·public event?
11· · · · A.· Yes.
12· · · · Q.· Okay.· So is this complaint also about the MADD
13· ·group providing food to people at 61 Riesner who were
14· ·working the night shift?
15· · · · A.· Yes.
16· · · · Q.· And again, those city employees are not people
17· ·in need -- in the -- as regulated by the Charitable
18· ·Feeding Ordinance?
19· · · · A.· Correct.
20· · · · Q.· Okay.· So the Charitable Feeding Ordinance does
21· ·not regulate this -- the activity referred to in this
22· ·complaint?
23· · · · A.· No, sir.
24· · · · Q.· Okay.· And so let me -- let me -- and in
25· ·these -- these complaints -- did -- did Robert Stine

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·1· ·investigate the food preparation practices of Mothers
·2· ·Against Drunk Driving?
·3· · · · A.· It looks as though he just -- really didn't do
·4· ·any kind of thing as far as -- like there's no
·5· ·indication of what foods there were or anything like
·6· ·that.
·7· · · · Q.· Okay.· So to your knowledge -- let me just
·8· ·reask these questions just so we're clear.· Has the
·9· ·health department ever investigated the source of food
10· ·for a group or individual that provided food at the
11· ·61 Riesner location?
12· · · · A.· Just the ones that -- the organization --
13· · · · Q.· Just Bread of Life?
14· · · · A.· Right.· Just Bread of Life.
15· · · · Q.· Sorry.· Yeah, forgot to -- and so aside from
16· ·Bread of Life, the health department has never
17· ·investigated the source of food for a group or
18· ·individual providing food at 61 Riesner?
19· · · · A.· No, sir.
20· · · · Q.· Okay.· And has the health department -- scratch
21· ·that.
22· · · · · · · · ·Aside from Bread of Life, has the health
23· ·department ever investigated the food handling practices
24· ·for a group or individual that provided food at the
25· ·61 Riesner?

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·1· · · · A.· Just Bread of Life, yeah.
·2· · · · Q.· Okay.· And aside from Bread of Life, has the
·3· ·health department ever investigated the food storage
·4· ·practices for a group or individual providing food at
·5· ·the 61 Riesner location?
·6· · · · A.· No, sir.
·7· · · · Q.· Aside from Bread of Life, has the health
·8· ·department investigated the temperature of food provided
·9· ·by a group or individual at 61 Riesner?
10· · · · A.· No, sir.
11· · · · Q.· Okay.· Now, in -- we were just looking at
12· ·Exhibit 45 which was the complaint about the feeding
13· ·outside the Central Library in 2020.· And so my question
14· ·is, aside from this complaint in 2020, has the health
15· ·department ever received any food safety or sanitation
16· ·complaints about charitable food services provided
17· ·outside the Central Library or Julia Ideson Building?
18· · · · A.· Just the organizations near -- across from
19· ·The Beacon.
20· · · · Q.· Okay.· But -- so I'm focusing on the Central
21· ·Library and Julia Ideson.
22· · · · A.· I'm sorry.
23· · · · Q.· Yeah.· So my question is, aside from this 2020
24· ·complaint, has the health department ever received a
25· ·food safety or sanitation-related complaint about

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·1· ·charitable food services provided outside the Central
·2· ·Library or Julia Ideson Building?
·3· · · · A.· No, sir.
·4· · · · Q.· Okay.· And aside from this -- this 2020
·5· ·complaint, has the health department ever received a
·6· ·sanitation-related complaint about foods -- about a
·7· ·charitable food service on city property?
·8· · · · A.· No, sir, not that I'm aware of.
·9· · · · Q.· Okay.· Now, I want to focus on Food Not Bombs
10· ·feedings outside the Central Library.· Are you aware of
11· ·the group Food Not Bombs?
12· · · · A.· I've heard of Food Not Bombs.
13· · · · Q.· Okay.· Have you ever been to one of their
14· ·feedings outside the library?
15· · · · A.· No, sir.
16· · · · Q.· Okay.· Do you know how long they've conducted
17· ·feeding outside the Central Library?
18· · · · A.· No, sir.
19· · · · Q.· Okay.· And when -- when did the -- when did the
20· ·City first learn of the Food Not Bombs feedings outside
21· ·the Central Library?
22· · · · A.· I can't answer that.
23· · · · Q.· Okay.
24· · · · A.· I don't know when they were starting to feed.
25· · · · Q.· Okay.· And do you know if there were other

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   Renee Beckham                                                      February 13, 2025
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·1· ·groups who were conducting charitable food services
·2· ·outside the Central Library prior to 2023?
·3· · · · A.· Only when I was accompanying one of the police
·4· ·officers one night.· We was -- kind of like drove around
·5· ·different parts of the city, and there was nothing going
·6· ·around the library because it was like 10:30,
·7· ·11:00 o'clock at night.
·8· · · · Q.· Okay.· Now, aside from this 2020 complaint, has
·9· ·the City received any other complaints about Food Not
10· ·Bombs' feedings outside the Central Library?
11· · · · A.· Not reported to the health department.
12· · · · Q.· Okay.· Have any other city -- but to your
13· ·knowledge, has the City received complaints about Food
14· ·Not Bombs' feedings outside the Central Library?
15· · · · A.· Not to the health department.
16· · · · Q.· Okay.· Now, the Central Library is located in a
17· ·busy place in downtown Houston, right?
18· · · · A.· Yes.
19· · · · Q.· And there's a lot of foot traffic in that area
20· ·during the day?
21· · · · A.· Yes, sir.
22· · · · Q.· And a lot of pedestrian activity can result in
23· ·trash and litter; is that right?
24· · · · A.· Yes.
25· · · · Q.· And for city-owned public spaces -- so

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·1· · · · · · · · · ·REPORTER'S CERTIFICATION
· · · · · · · · · · · · ORAL DEPOSITION OF
·2· · · · · · · · · · · · ·RENEE BECKHAM
· · · · · · · · · · · TAKEN FEBRUARY 13, 2025
·3

·4

·5· · · · · · ·I, DONNA QUALLS, Shorthand Reporter and Notary

·6· ·Public in and for the State of Texas, Notary ID

·7· ·No. 12161359, hereby certify to the following:

·8· · · · · · ·That the witness, RENEE BECKHAM, was duly

·9· ·sworn by the officer and that the transcript of the oral

10· ·deposition is a true record of the testimony given by

11· ·the witness;

12· · · · · · ·That the original deposition was delivered to

13· ·RANDALL HIROSHIGE;

14· · · · · · ·That a copy of this certificate was served on

15· ·all parties and/or the witness shown herein on

16· ·__________________________.

17· · · · · · ·I further certify that pursuant to FRCP No.

18· ·30(f)(i) that the signature of the deponent was

19· ·requested by the deponent or a party before the

20· ·completion of the deposition and that the signature is

21· ·to be returned within 30 days from date of receipt of

22· ·the transcript.· If returned, the attached Changes and

23· ·Signature Page contains any changes and the reasons

24· ·therefor.

25· · · · · · ·I further certify that I am neither counsel


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·1· ·for, related to, nor employed by any of the parties in

·2· ·the action in which this proceeding was taken, and

·3· ·further that I am not financially or otherwise

·4· ·interested in the outcome of the action.

·5· · · · · · ·Certified to by me this 28th day of February,

·6· · 2025.

·7

·8

·9· · · · · · · · · · ·_____________________________________
· · · · · · · · · · · ·DONNA QUALLS
10· · · · · · · · · · ·Notary Public in and for
· · · · · · · · · · · ·The State of Texas, Notary ID 12161359
11· · · · · · · · · · ·My Commission expires 11/06/2026

12· · · · · · · · · · ·Magna Legal Services
· · · · · · · · · · · ·Firm Registration No. 633
13· · · · · · · · · · ·16414 San Pedro, Suite 900
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